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                       United States District Court
                       for the District of Columbia

 ANNE DAVIS o/b/o BRAEDEN DAVIS,

                Plaintiff
                                                    Civil Action No. 21-02884-RJL
        v.

 DISTRICT OF COLUMBIA,

                Defendant

                                   JOINT STATUS REPORT

       Responding to the Court’s March 28, 2024 order directing the parties to file a joint status

report, plaintiff Anne Davis (“Ms. Davis”) and defendant the District of Columbia (“the District”)

jointly request that this matter be stayed until 14 days after the United States Supreme Court rules

on Ms. Davis’s pending petition for a writ of certiorari. The petition asks the Supreme Court to

decide whether an injunction should have issued pursuant to 20 U.S.C. §1415(j) to maintain Braeden

Davis’s current educational placement. The relevant procedural history is:



1.     After this Court denied Ms. Davis’s motion for a stay-put injunction on November 19, 2021,

       the Court entered separate orders, on February 10, 2022 and June 23, 2022, holding this case

       in abeyance pending disposition of Ms. Davis’s appeal from the November 19, 2021 order.



2.     The United States Court of Appeals for the District of Columbia Circuit issued its opinion on

       August 15, 2023. Davis v. District of Columbia, 80 F. 4th 321 (D.C. Cir. 2023). Petitions for

       rehearing and rehearing en banc were denied on September 27, 2023.
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3.   On February 23, 2024, Ms. Davis petitioned the Supreme Court for a writ of certiorari,

     seeking review of the denial of the stay-put injunction. Anne Davis o/b/o Braeden Davis v.

     District of Columbia, U.S. Supreme Court Case No. 23-936. On April 17, 2024, the Supreme

     Court directed the District to respond to the petition. The District’s response is due May 28,

     2024. After the District’s response is filed, Ms. Davis will have an opportunity to reply.

     Supreme Court Rule 15.6. It is anticipated that the reply will be filed by June 4, 2024, in time

     for the Supreme Court to consider the petition before the end of its current term.



4.   Once the Supreme Court decides whether it will hear Ms. Davis’s petition, the parties will be

     able to advise the Court whether they wish to litigate the remaining issues in the case

     immediately, or await further action by the Supreme Court. The parties therefore request that

     this Court stay further proceedings until 14 days after the Supreme Court’s ruling on the

     petition, and direct the parties to file another joint status report at that time.

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